                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

MARY HOLMES, DENISE DAVIS,                         )
ANDREW DALLAS and EMPOWER                          )
MISSOURI,                                          )       Case No. 2:22-cv-04026-MDH
                                                   )
              Plaintiffs,                          )
                                                   )
       vs.                                         )
                                                   )
JESSICA BAX, in her official capacity              )
as Acting Director of the Missouri Department      )
of Social Services,                                )
                                                   )
              Defendant.                           )


                                    NOTICE OF FILING

       Pursuant to the Court’s Order, ECF 211, Defendant hereby submits a proposed order on

relief, with accompanying suggestions in support, which would fully address the issues described

in the Court’s previous Order on the parties’ motions for summary judgment, ECF 161.


                                            Respectfully Submitted,


                                                 ANDREW BAILEY
                                                 Attorney General of Missouri
                                                 By: /s/ Hardin T. Haynes
                                                 Hardin T. Haynes, #67474
                                                 Assistant Attorney General
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                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing document was

forwarded to all attorneys of record via the Court's electronic filing system this 28th day of

February, 2025.


                                                   By:/s/ Hardin T. Haynes




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